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             IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF TEXAS
                           EL PASO DIVISION

ROBERT K. HUDNALL                §
          Plaintiff,             §
                                 §
v.                               §                      Cause No. 3:22-CV-00036-KC
                                 §
STATE OF TEXAS, CITY OF EL PASO, §
TEXAS, JUDGE SERGIO ENRIQUEZ, §
ALEJANDRO C. RAMIREZ, TYRONE §
SMITH dba SMITH AND RAMIREZ      §
RESTORARION LLC, GUY BLUFF,      §
THE AMERICAN ARBITRATION         §
ASSOCIATION, AND EVANSTON        §
INSURANCE COMPANY                §

             ENTRY OF APPEARANCE AS ADDITIONAL COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Victor I. Martinez, Assistant City Attorney, and files this entry of

appearance the City of El Paso, Texas in the above-styled and numbered cause. Victor I.

Martinez is admitted or otherwise authorized to practice in this court, for all purposes and

respectfully requests that he be included in all further notices, pleadings, correspondence,

communications, and file documents served upon the City of El Paso.

                                               Respectfully Submitted,

                                               KARLA M. NIEMAN
                                               City Attorney
                                               State Bar No. 24048542
                                               P.O. Box 1890
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                                               Tel: (915) 212-0033
                                               Fax: (915) 212-0034

             15 2022
Date: August ____,                       By:
                                               Victor I. Martinez
                                               Assistant City Attorney
                                               State Bar No. 00797016
                                               Martinezvi@elpasotexas.gov


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                                             Attorney for Defendant
                                             the City of El Paso, Texas



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 15
                                      ____ day of August _____, 2022, a true and correct copy of
the foregoing Entry of Appearance was electronically filed with the Clerk of Court using the
CM/ECF system, which will send notification to:

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                                                      _____________________________
                                                      Victor I. Martinez




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